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                                                        HONORABLE RICHARD A. JONES
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                            UNITED STATES DISTRICT COURT
7                          WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
8
     JASON MARK HART,
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                  Plaintiff,
10                                                    Case No. 2:19-cv-01193-RAJ-BAT
           v.
11                                                    ORDER
     DAN SCHNEEWEISS, et al.,
12
13                Defendants.

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15         Having reviewed the Report and Recommendation of the Honorable Brian A.
16   Tsuchida, United States Magistrate Judge, any objections or responses to that, and the
17   remaining record, the Court finds and ORDERS:
18         (1) The Court ADOPTS the Report and Recommendation.
19         (2) Defendants’ motion for summary judgment (Dkt. # 19) is GRANTED in part
20   and DENIED in part.
21         (3) Defendants’ motion (Dkt. # 19) is GRANTED in its entirety with respect to
22   Defendant Dan Schneeweiss and all claims against that Defendant are dismissed.
23         (4) With respect to Defendant Calvin Cogburn, Defendants’ motion is
24   GRANTED with respect to Plaintiff’s Fourth Amendment, Eighth Amendment,
25   Fourteenth Amendment substantive Due Process claims, and state law assault and battery
26   claims and those claims are dismissed. Defendants’ motion is DENIED without
27   prejudice with respect to Plaintiff’s Fourteenth Amendment procedural Due Process
28   ORDER – 1
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1    claims against Defendant Cogburn.
2           (5) To the extent Plaintiff intends to raise retaliation claims against Defendants
3    Schneeweiss and Cogburn based on his classification as custody level I during the period
4    in question, these claims are DISMISSED without prejudice pursuant to 28 U.S.C.
5    § 1915A for failure to state a claim.
6           (6) Defendants’ request that Plaintiff be assessed a “strike” under 28 U.S.C.
7    § 1915(g) is DENIED.
8           (7) Plaintiff’s remaining claims are referred back to Hon. Brian A. Tsuchida for
9    further proceedings.
10          (8) The Clerk is directed to send copies of this Order to the parties.
11
12          DATED this 19th day of October, 2020.
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14
                                                       A
                                                       The Honorable Richard A. Jones
15
                                                       United States District Judge
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28   ORDER – 2
